          Case 1:14-cr-10363-RGS Document 1615 Filed 09/20/18 Page 1 of 4



                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA )
                               )        Court No.: 14-cr-10363-RGS-3-5, 7-8,
      v.                      )                    11-12
                              )
GENE SVIRSKIY, ET AL.,        )
                              )
            Defendant.        )
______________________________)

    GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE
  REGARDING “OBJECTIONABLE” TRIAL PRACTICES BY THE GOVERNMENT

        The United States of America hereby opposes the remaining defendants’ Motion In

Limine Regarding “Objectionable” Trial Practices by the Government (Doc. No. 1603)

(quotation marks not in original) [hereinafter “the Motion”]. In the Motion, the defendants make

a series of complaints about the government’s openings and closings, direct examination

questions, and objections during the Cadden and Chin trials. The defendants read the 15 weeks

of trial transcripts, cherry-picked a few examples of sustained objections on direct examination

(ignored the multitude on cross), and concluded there is a concerning issue that this Court must

remedy now by ordering the undersigned prosecutors in advance of the trial not to ask questions

they deem objectionable. This Motion is consistent with the multi-year defense strategy in this

case of making baseless and personal attacks on the prosecutors. Of course the government does

its best, and will continue to do its best, not to elicit objections at trial. In fact, many of the

defendants’ complaints arise from the government’s efforts not to lead witnesses or ask

compound questions. The government submits that the requested order is not warranted or

needed.
        Case 1:14-cr-10363-RGS Document 1615 Filed 09/20/18 Page 2 of 4



        Among the defendants’ complaints are that the government asked questions in the

Cadden and Chin trials that were “open-ended” or that explored whether former NECC

employees had concerns about the substandard practices and conditions at NECC (an area that

was a focus in cross-examination in both trials, actually). In fact, none of the examples the

defendants cite in the Motion of witnesses being asked about their concerns elicited objections in

Cadden or Chin. In a few other excerpts, the defendants say the government asked questions

that were lacking in foundation or were vague. There is nothing improper about a prosecutor

asking a question that allows the witness to answer in his or her own words (it is preferred), nor

is it improper to ask whether witnesses had concerns in the course of their work at NECC (this is

presumably why neither Cadden nor Chin complained about it). Nor is it improper to use the

words “they” or “them” to reference multiple persons. 1 Nor is it improper to ask a witness a

broader question and then drill down in separate follow-up questions about who, what, and

when.

        As the Court knows, both the Cadden and Chin trials were hard fought contests, and each

side made several objections, some more successful than others. As any lawyer with trial

experience knows, the making of objections is part and parcel of trial practice. The government

submits that none of its direct examination “practices” were objectionable, and neither Cadden

nor Chin complained that they were. The undersigned prosecutors have 24 years of collective

experience between them as Assistant U.S. Attorneys, and over 30 years as practicing litigators.

In this upcoming trial, as in every trial, the government will do its best to not ask questions that




        1
           In each of the Cadden and Chin trials, there was only one defendant on trial, and the
government could not have used the words “they” or “them” to try to confuse. In the upcoming
trial, the government will ask questions that are directed at the conduct of specific defendants.

                                                  2
         Case 1:14-cr-10363-RGS Document 1615 Filed 09/20/18 Page 3 of 4



elicit objections, and expects the defense attorneys will do the same. If the parties fall short,

each side will have an opportunity to object. If a defendant feels a question and answer was not

clear or was confusing, he or she can also explore the issue on cross examination. Of course no

trial lawyer asks the perfect question every time, but the undersigned prosecutors will keep

trying to do so. 2

        The defendants also raise concerns about excerpts from the government’s openings and

closings in Cadden and Chin that they believe appeal to “passion and prejudice.” Some of the

examples they complain about include the government giving the jury examples of second

degree murder, recounting the testimony of CDC epidemiologist Dr. Benjamin Park, and the

unremarkable use of the word “depraved” with respect to depraved-heart murder charges. None

of their examples are objectionable. The few objections raised by Cadden and Chin about the

government’s closings and rebuttals were overruled. In fact, Cadden’s 176-page brief to the First

Circuit seeking to overturn his convictions is silent as to all of these supposedly “objectionable

trial practices.” A silence that speaks volumes about the strength of this Motion.




        2
         The defendants also complain about speaking objections. Notably, the Court never
raised concerns about the government’s objections in the Cadden and Chin trials. If the Court
would like both sides to further limit the words used when objecting, the government will of
course do so; it will raise objections however the Court prefers.

                                                  3
          Case 1:14-cr-10363-RGS Document 1615 Filed 09/20/18 Page 4 of 4



                                        CONCLUSION

       For all the above reasons, the United States respectfully requests that the Court deny the

Motion.

                                                    Respectfully submitted,

                                                    ANDREW E. LELLING
                                                    UNITED STATES ATTORNEY


                                             By:    /s/ Amanda P.M. Strachan
                                                    AMANDA P.M. STRACHAN
                                                    BBO # 641108
                                                    GEORGE P. VARGHESE
                                                    Assistant United States Attorneys
                                                    John J. Moakley United States Courthouse
                                                    One Courthouse Way, Suite 9200
                                                    Boston, Massachusetts 02210
                                                    (617) 748-3100
                                                    amanda.strachan@usdoj.gov
                                                    george.varghese@usdoj.gov



Dated: September 20, 2018



                                      Certificate of Service

        I hereby certify that the foregoing documents filed through the ECF system will be sent
electronically to counsel for the defendants, who are registered participants as identified on the
Notice of Electronic Filing (NEF).


                                             By:    /s/ Amanda P.M. Strachan
                                                    AMANDA P.M. STRACHAN
                                                    Assistant United States Attorney
Dated: September 20, 2018




                                                4
